Case 1:13-cv-02741-RBK-AMD Document 218 Filed 02/12/18 Page 1 of 5 PageID: 4833



                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

                                      :
 STEVEN M. STADLER,                   :
                                      :
             Plaintiff,               :
                                      :   Civil Case No.: 13-cv-2741(RBK/AMD)
       v.                             :
                                      :
 CITY OF ATLANTIC CITY; GLENN         :
 ABRAMS, JR.; JOHN A. DEVLIN;         :
 AND WILLIAM MOORE,                   :
                                      :
             Defendants.              :
                                      :




       DEFENDANT CITY OF ATLANTIC CITY’S MEMORANDUM OF LAW IN
             OPPOSITION TO PLAINTIFF’S IN LIMINE MOTIONS
  ________________________________________________________________


                               Morrison Kent Fairbairn, Esquire
                               MICHAEL A. ARMSTRONG & ASSOCIATES, LLC
                               79 Mainbridge Lane
                               Willingboro, New Jersey 08046
                               (609) 877-5511
                               On behalf of the City of Atlantic City
Case 1:13-cv-02741-RBK-AMD Document 218 Filed 02/12/18 Page 2 of 5 PageID: 4834



                                        LEGAL ARGUMENT

       Defendant      City    of        Atlantic      City     opposes     Plaintiff’s       in

 limine     motions      to        preclude          Defendants          from        introducing

 Plaintiff’s criminal history for the reasons stated herein as

 well as the reasons argued by Defendant Officers.

    A. Evidence of Plaintiff’s Convictions Should Be Permitted.
       Defendant City will not be seeking to admit evidence of

 convictions prior to 2009.                   Pursuant to Fed. R. Evid. 609(a)(1),

 however,     Defendants           are        permitted        to    attack          plaintiff’s

 credibility through evidence of his 2009 conviction for third

 degree theft.        In order to preclude the admissibility of this

 evidence Plaintiff must show that the permissible purpose of

 attacking     plaintiff’s          credibility           is    outweighed           by   unfair

 prejudice.     The fact that the jury will hear that Plaintiff is a

 convicted felon for          committing             a crime of dishonesty is not

 unfair     prejudice,       but        precisely      the      category        of     prejudice

 contemplated by the rule.

       Likewise, the conviction for resisting arrest in connection

 with the instant case is admissible.                           While a conviction is

 ordinarily     probative          of     a     party’s      credibility,            Plaintiff’s

 conviction for resisting arrest as a result of the arrest at

 issue in this case is highly probative of whether Plaintiff’s

 version of events should be credited over that of the Defendant

 Officers.       Accordingly,            any      prejudice         to   Plaintiff        cannot


                                                 2
Case 1:13-cv-02741-RBK-AMD Document 218 Filed 02/12/18 Page 3 of 5 PageID: 4835



 outweigh the probative value of his conviction for resisting

 arrest.

    B.    Evidence      Related        to    Defendant      Abram’s       Past    Internal
    Affairs History Should Be Excluded.
         The City also opposes the admissibility of the unspecified

 evidence       of    internal        affairs         complaints    Plaintiff       seeks    to

 introduce. Plaintiff’s expert did not address the legal issues

 raised in Plaintiff’s in limine motion as a basis for admitting

 the evidence.              Plaintiff’s experts dealt with statistics and

 associated inferences.

         None of Plaintiff’s experts went as far as to declare what

 discipline should have been taken by the City in response to any

 individual or set of complaints as Plaintiff now attempts to

 argue    to     make       these     investigations         relevant.           Clearly    the

 appropriate         discipline        for    particular      police       department       rule

 violation       or     whether        specific         conduct    constitutes       a     rule

 violation or “official misconduct”                       is beyond the kin of the

 average    juror.            Without        expert      testimony    to    explain      these

 matters, evidence submitted to support them is improper.



         With    regards         to   Plaintiff’s        argument    that    the    internal

 affairs evidence is relevant for proving that criminal matter

 were    investigated            as   administrative         matters,      the     County    of

 Atlantic       is    not    a    party      to   this    case.      As     the   deposition


                                                  3
Case 1:13-cv-02741-RBK-AMD Document 218 Filed 02/12/18 Page 4 of 5 PageID: 4836



 testimony      in    this      matter     has    established,            it    is    the    County

 Prosecutor’s decision whether or not to investigate an internal

 affairs     complaint          as    a    criminal        complaint           or    grant    “use

 immunity.”          The Atlantic City Police Department has no legal

 authority to override that decision and confusing a jury to

 think otherwise is improper. Plaintiff’s experts have not opined

 to the contrary.

       The City agrees that testimony from other complainants who

 have filed internal affairs files will require trials within

 trials that will only serve to confuse the issues for the jury

 and unnecessarily lengthen this trial at the expense of both the

 City and the Court’s resources.                       In particular, Plaintiff seeks

 to    introduce       allegations          of        coercion      and        carelessness     by

 investigating        detectives           through       the     complainants          in    these

 unrelated      investigations             that        will     require         a     credibility

 determination by the jury on issues far removed from Plaintiff’s

 excessive force Monell claim.

       It may be that the officers involved in these past Internal

 Affairs complaints are no longer under the control of the City

 and     many   of        the    witnesses        involved          may    be        unavailable.

 Therefore, these proposed mini trials will be unduly prejudicial

 to the City and irrelevant to the ultimate issues before the

 jury.      Moreover, respectfully, an instruction to the jury would

 not   be   able     to    cure      the   prejudice          and   confusion         that   would

                                                  4
Case 1:13-cv-02741-RBK-AMD Document 218 Filed 02/12/18 Page 5 of 5 PageID: 4837



 result    from   cumulative     evidence     allegations   of   inadequate

 investigations by lay witnesses.


                             Respectfully submitted,

                             MICHAEL A. ARMSTRONG & ASSOCIATES, LLC

                               By:     /s Morrison Kent Fairbairn
                                     Morrison Kent Fairbairn, Esquire
                                     Attorney for Defendant Atlantic City

 Dated: February 12, 2018




                                         5
